Case 13-02904-hb                 Doc 9   Filed 08/26/13 Entered 08/26/13 15:25:37      Desc Main
                                         Document      Page 1 of 23


                                  UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA

INRE:                                       )      CHAPTER: 7
                                            )
                                            )      CASE NO: 13-02904-hb
Alicia Lee Thomas                           )
                                            )      NOTICE OF MOTION FOR
                                            )      RELIEF FROM AUTOMATIC
            Debtor.                         )      STAY (11 U.S.C.§ 362)
                                            )

TO: DEBTOR, TRUSTEE, AND THOSE NAMED IN THE ATTACHED MOTION:

            PLEASE TAKE NOTICE THAT a hearing will be held on the attached Motion on:

            Date: September 19, 2013
            Time: 11:00 a.m.
            Place: Donald Stuart Russell Federal Courthouse
                   201 Magnolia Street, Spartanburg, SC 29306

Within 14 days after servce of  the attached Motion, the Notice of   Motion, the movant's
Certification of Facts, (and a blank Certification of Facts form (applicable to servce on
pro se parties only), any part objecting to the relief sought shall:

            (1) File with the Court a written objection to the 11 U.S.C. § 362 Motion;


            (2) File with the Court a Certification of Facts;


            (3) Serve on the movant items 1 and 2 above at the address shown below; and

            (4) File a certificate of such servce with the Court.

'I you fail to comply with this procedure, you may be denied the opportunity to appear
 and be heard on this proceeding before the court.


                                            MCINTOSH, SHERARD, SULLIVAN & BROUSSEAU

                                            By: Is/M. P. Sherard, Jr.,
                                                M. P. Sherard, Jr., Fed. LD. NO.4855
                                                Attorney for Lloyd C. Trotter
                                                P. O. Box 197
                                                Anderson, SC 29622
                                                TeL. No. (864) 225-0001-Fax No. (864) 225-0004
Anderson, SC                                    Email: Marshalls(lmsslawfirm.net
August 26, 2013



                                                                                           Hall.Graham 00144
Case 13-02904-hb                 Doc 9          Filed 08/26/13 Entered 08/26/13 15:25:37                                Desc Main
                                                Document      Page 2 of 23


                                    UNITED STATES BANKRUPTCY COURT

                                            DISTRICT OF SOUTH CAROLINA


INRE:                                                  )          BANKRUPTCY CASE NO.: 13-02904-hb
                                                       )          CHAPTER 7
Alicia Lee Thomas,                                     )
                                                       )
        Debtor.                                        )           MOTION TO MODIFY STAY
                                                       )

        Creditor, Lloyd C. Trotter, hereby moves the Court for relief                                          from the automatic

stay of 11 U.S.C. §362(d) and would show as follows:

        1 The above referenced Debtor filed a Petition for Relief under Chapter 7,

Title 11, U.S. Bankruptcy Code on May 16, 2013.

        2. The Bankruptcy Court has jurisdiction over this bankruptcy proceeding

pursuant to 28 U.S.C. §§157 and 1134 and 11 U.S.C. 362. This is a core proceeding.

        3. John K. Fort is the trustee of                               the Debtor's estate and may claim an               interest
in the propert which is the subject of this action.

        4. Lloyd C. Trotter is the holder of a secured claim against the Debtor for the

sum of approximately Two Hundred Seventy Four Thousand and nO/100 plus interest,

fees and costs by virtue of a Note dated May 26, 2011. A true and correct copy of the

Note is attached as Exhibit A to the Certification of Facts and is incorporated herein by

reference. Lloyd C. Trotter's claim is secured by a mortgage on real propert which is

attached as Exhibit B to the Certification of Facts and incorporated herein by reference.

        5. Lloyd C. Trotter seeks relief                            pursuant to 11 U.S.C. §362(d)(i), for

cause, on the grounds that there is inadequate protection for Lloyd C. Trotter's interest

in the real propert. Specifically, the Debtor has failed to make post petition payments

on the Note as required by the Note and Mortgage.




                                                                                                                             Hall.Graham 00145
     Case 13-02904-hb                     Doc 9      Filed 08/26/13 Entered 08/26/13 15:25:37      Desc Main
                                                     Document      Page 3 of 23


                6. Further, Lloyd C. Trotter seeks relief pursuant to 11 U.S.C. §362(d)(2), for


    cause, on the grounds that there is no equity in the real propert and the real propert is

    not necessary to an effective reorganization of the Debtor.

                7. If Lloyd C. Trotter is not permitted relief from the automatic stay, he will

    suffer injury, loss and damage.

                8. Lloyd C. Trotter asserts that he is entitled to recover the attorneys' fees and


    costs incurred as a result of bringing this motion.

                9. Lloyd C. Trotter agrees to waive any claim that may arise under 11 U.S.C.


    §503(b) or §507(b) as a result of this motion. Lloyd C. Trotter further agrees that any
    funds realized from the sale, in excess of all              liens, costs and expenses, will be paid to the
.
    trustee.

               Wherefore, Lloyd C. Trotter prays:

                           1. That the stay pursuant to 11 U.S.C. §362 be modified to permit


                                       Lloyd C. Trotter to protect his interest in the real propert;

                           2. Debtor be taxed with fees and costs; and


                           3. For such further relief as the Court may deem just and proper.




                                                             MCINTOSH, SHERARD, SULLIVAN &
                                                             BROUSSEAU


                                                             By: Is/M. P. Sherard, Jr.
                                                             M. P. Sherard, Jr. Fed. LD. 4855
                                                             P.O. Box 197
                                                             Anderson, SC 29622
                                                             TeL. No. 864-225-0001
    Dated: August 26, 2013                                   Fax No. 864-225-0004
    Anderson, S. C.                                          Email: marshalls(lmsslawfirm.net




                                                                                                         Hall.Graham 00146
Case 13-02904-hb       Doc 9    Filed 08/26/13 Entered 08/26/13 15:25:37            Desc Main
                                Document      Page 4 of 23


                        UNITED STATES BANKRUPTCY COURT

                            DISTRICT OF SOUTH CAROLINA


INRE:                               )      BANKRUPTCY CASE NO.: 13-02904-hb
                                    )      CHAPTER 7
Alicia Lee Thomas,                  )
                                    )
        Debtor.                     )      CERTIFICATION OF FACTS
                                    )


        In the above entitled proceeding, in which relief is sought by Lloyd C. Trotter
from the automatic stay provided by 11 U.S.C. § 362, I do hereby certify to the best of my
knowledge the following:

        1. Nature of Movant's Interest: Lloyd C. Trotter is the holder of a secured
              claim against the Debtor for the sum of approximately $274,000.00, plus
              interest, fees, and costs.

        2. Brief Description of Security Interest, copy attached if applicable: Note
              dated May 26, 2011, copy of which is attached hereto as Exhibit A and
              incorporated herein by reference. Mortgage dated May 26, 2011, copy of
              which is attached hereto as Exhibit B and incorporated herein by
              reference.

        3. Description of Propert Encumbered by Stay:

              All that certain piece, parcel or lot of land in the State of South
              Carolina, City of Anderson, County of Anderson, containing 0.480
              acres, more or less, and being shown on plat made by Farmer &
              Simpson Engineers, Inc., dated December 11, 1992, and recorded in
              the Offce of the Register of Deeds for Anderson County, South
              Carolina in Plat Book 105 at page 893. For a more complete
              description as to metes, bounds, courses and distances reference to
              said plat is hereby invited which is incorporated herein by reference
              thereto.

              This being the same propert conveyed unto Alicia Thomas by deed
              of Lloyd C. Trotter dated May 26, 2011 and recorded in the Register
              of Deeds Offce for Anderson County, South Carolina in Book 10037
              at page 153 on May 26,
               2011.

              1515 North Fant Street, Anderson, SC 2961
              TMS No.: 123-27-02-005




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Case 13-02904-hb            Doc 9           Filed 08/26/13 Entered 08/26/13 15:25:37            Desc Main
                                            Document      Page 5 of 23



     4. Basis for Relief (propert not necessary for reorganization debtor has no

                   i.:
                   equity propert not propert of estate, etc. include applicable subsection of


                   Lloyd C. Trotter seeks relief pursuant to 11 U.S.C. § 362(d)(1) & (2), as
                   more fully set forth in the § 362 Motion fied on even date.

     5. Prior Adjudication by Other Courts, copy attached (Decree of Foreclosure,
                   Order for Possession, Levy of Execution, etc., if applicable): n/ a

     6. Value of             Propert, Copy of          Valuation      Attached (AppraisaL, Blue Book, etc.):
                   See Appraisal, Exhibit C attached.


                          Fair market value:                       $223,000.00
                          Liens (Mortgages):                       $274,000.00
                          Net Equity                               $ -0-

                          Source/Basis of           Value:         Appraisal

     7. Amount of Debtors' Estimated Equity (using figures from paragraph 6,
          supra):

                          $0
     8. Month and Year in Which First Direct Post-Petition Payment Came Due to
                   Movant (if applicable): June, 2013

     9.            (a)    For Movant    Lienholder (if applicable): List or attach a list of all
                                                I

                          post-petition payments received directly from debtor(s), clearly
                          showing date received, amount, and month and year for which each
                          such payment was applied. $0


                   (b) For Objecting Part (if applicable): List or attach a list of all post-
                          petition payments included in the Movant's list from (a) above
                          which objecting part disputes as having been made. Attach written
                          proof of such payment(s) or a statement as to why such proof is not
                          available at the time of filing this objection.


     10. Month and Year for Which Post-Petition Account of Debtor(s) is Due as of
          the Date of this Motion: June, 2013.




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 Case 13-02904-hb    Doc 9   Filed 08/26/13 Entered 08/26/13 15:25:37     Desc Main
                             Document      Page 6 of 23


                               MCINTOSH, SHERARD, SULLIVAN & BROUSSEAU

                               By: Is/M. P. Sherard, Jr.
                                  M. P. Sherard, Jr., Fed. LD. No. 4855
                                  Attorney for Lloyd C. Trotter
                                  P. O. Box 197
                                  Anderson, SC 29622
                                  TeL. No. (864) 225-0001
                                  Fax No. (864) 225-0004
                                  Email: Marshalls(lmsslawfrm.net

Anderson, South Carolina

August 26, 2013




                                                                              Hall.Graham 00149
   Case 13-02904-hb               Doc 9       Filed 08/26/13 Entered 08/26/13 15:25:37         Desc Main
                                              Document      Page 7 of 23

   STATE OF SOUTH CAROLINA)                                                BALLOON
                                                 )                      PROMISSORY NOTE
   COUNTY OF ANDERSON )


           FOR   VALUE RECEIVED THIS                 26th    DAY   OF May:, 2011, I,Alicia Thomas promise
   to pay to Lloyd C. Trotter or order, the sum of Two-Hundred and Seventy-Four
   Thousand and No/100ths ($274,000.00) DOLLAI~S, with interest thereon from date at
   the rate of 6% PER CENT PER ANNUM, to be computed and paid in equal monthly
   installments in the amount of $1 ,500.00 beginning the 1st day of August, 2011, and the
    1 st day of each month thereafter for 35 months, with the final balloon payment of all
   remaining principal and interest, and late fees(if any) to be due on the 1st day of August.
   2014: all interest not paid when due to bear interest at the same rate as principaL. Any
   payment not paid by the 1st of each month shall be considered late and a late payment of
   $35.00 shall be added to the outstanding principal balance.


           Payments will be made to the holder of this instrument at the following address:
                                       7 Harvest Court. Greenvile, SC 29601

         AND we hereby agree that if at any time any portion of said principal or interest shall
   be past due and unpaid, the whole amount evidenced by this Note shall at the option of the
   holder thereof, become immediately due and said holder shall have the right to institute any
   proceedings upon this Note and any colJaterals givEln to secure the same for the purpose
   of collecting said principal and interest, with cost and expenses, or of protecting any
   security connected herewith. Notwithstanding the foregoing, in the event of default the
  holder of this instrument shall give the undersigned notice of default and at least ten (10)
  days in which to cure same prior to institution of any legal action to collect same.

        AND we further agree hereby that if any part of the money due hereon be not paid
  when due, or if this Note be placed in the hands of an attorney for collection, or if this debt
   or any part thereof, be collected by an attorney or legal proceedings of any kind, an
  attorney's fee of a reasonable amount besides all costs and expenses incident upon such
  collection, shall be added to the amount due upon this Note and be collectable as a part
  thereof.


                                                            ~~.~
                                                            Alicia Thomas
                                                                                                (SEAL)




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.~
     Case 13-02904-hb         Doc 9       Filed 08/26/13 Entered 08/26/13 15:25:37                             Desc Main
                                          Document      Page 110010234
                                                              8 of 23 5/26/2011 Bk: 10037                 P9: 00157
                -.
            STATE OF SOUTH CAROLINA
                                                               MORTGAGE OF REAL ESTATE
            COUNTY OF ANDERSON                                 AND SECURITY AGREEMENT


                     TO ALL WHOM THESE PRESENTS MAY CONCERN:

            Alicia Thomas (hereinafter referred to as Mortgagor) SEND GREETING:
                     Whereas. the said Mortgagor is well and truly indebted unto Lloyd C. Trotter
            (hereinafter referred to as Mortgagee) as evidenced by the Mortgage Note (hereinafter
            referred to as Note) in writing, dated May 26. 2011 , given unto Alicia Thomas in the full
            and just sum of Two.Hundred and Seventy-Four Thousand' and no 100ths
            ($274.000.00)Dollars with interest thereon from date to be paid according to the terms
            contained in said note. This mortgage is given to secure the payment of the above-
            described Note, as well as all other sums and future advances which may hereafter be -
            owing to Mortgagee by Mortgagor however evidenced. It Is understood and agreed that
            the Mortgagee may from time to time make loans and advances to Mortgagor, all of which
            wil be secured by this Mortgage, plus interest thereon, attorney's fees and court costs.


                     NOW KNOW ALL MEN, That the said Mortgagor in consideration of the said debt
            and sum of money aforesaid, and for the better securing the payment thereof to the said
            Mortgagee according to the terms of said note, and also in consideration of the further sum
            of Three Dollars, to the said Mortgagor in hand well and truly paid by the said Mortgagee
            at and before the signing of these Presents, the receipt whereof is hereby acknowledged,
            have granted, bargained, sold and released and by these Presents do grant, bargain, sell
            and release unto the said Mortgagee, and Mortgagee's Heirs, or Successors, and Assigns,
            forever:


                           ALL that certain piece, parcel or lot ofland situate, lying and being in the City
            of Anderson, Centervile Township, Anderson County, South Carolina, containing 0.480 acre,
            more or less, as shown on plat made by Farmer & Simpson Engineers, Inc., dated December
            11,1992, and recorded in the Offce of the Register of Deeds for Anderson County, South
            Carolina in Plat Book ios at Page 893. For a more complete description as to metes, bounds,
            courses, and distances reference to said plat is hereby invited which is incorporated herein by
            reference thereto.


                     TMS: 123-27-02-005


                           This being that same property conveyed unto Alicia Thomas by deed of
                     Lloyd C. Trotter dated May 26, 2011 and recorded in the Register of Deeds
                     Offce for Anderson County, South Carolina in Book~ at Page~
                     00 ~ d,J Jolt.
                                                           i
                                                                                              . .'




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Case 13-02904-hb          Doc 9      Filed 08/26/13 Entered   08/26/13
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                                                                                           00158
                                     Document      Page 9 of 23
             ..
        Mortgagee's mailng address: 7 Harvest Ct., Greenville, SC 29601


                  TO HAVE AND TO HOLD all and singular the said premises unto the Mortgagee,
        its successors and assigns forever.


                  The Mortgagor covenants that he is lawfully seized of the premises hereinabove
        described in fee simple absolute, that he has good right and lawful authority to sell, convey,
        or encumber the same, and that the premises are free and clear of all liens and
        encumbrances except those known to Mortgagee. The Mortgagor further covenants to
        warrant and forever defend all and singular the premises unto the Mortgagee forever, from
        and against the Mortgagor and all persons whomsoever lawfully claiming the same or any
        part thereof.


                  The Mortgagor covenants and agrees as follows:


                  1. That he wil promptly pay the principal of and interest on the indebtedness
        evidenced by the said note, and any renewals thereof at the times and in the manner
        therein provided.


                  2. That this mortgage shall secure the Mortgagee for such further sums as may be
        advanced hereafter, at the option of the Mortgagee, for the payment of taxes, insurance
        premiums, public assessments, repairs or other purposes covenanted herein to be paid or
        performed by the Mortgagor; and that all sums so advanced shall bear interest at the same
        rate as the Mortgage debt and shall be payable on demand of the Mortgagee, unless
        otherwise provided in writing.


                  3. That he wil keep the improvements now existing or hereafter erected on the
        mortgaged propert insured as may be required from time to time by the Mortgagee against
        loss by fire and other hazards, casualties and contingencies in such amounts and for such
        periods as may be required by the Mortgagee and will pay promptly, when due, any
        premiums on such insurance provision for payment of which has not been made
        hereinbefore. All insurance shall be carried in companies approved by the Mortgagee and
        the policies and renewals thereof shall be held by the Mortgagee and have attached thereto
        loss payable clauses in favor of and in form acceptable to the Mortgagee. In event of loss
        Mortgagor wil give immediate notice by mail to the Mortgagee, who may make proof of loss
        if not made promptly by Mortgagor, and each insurance company concerned is hereby
        authorized and directed to make payment for such directly to the Mortgagee instead of to
        the Mortgagor and Mortgagee jointly, and the insurance proceeds, or any part thereof, may
        be applied by the Mortgagee at its option either to the reduction of the indebtedness hereby
        secured or to the restoration or repair of the property damaged. In event of foreclosure of


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Case 13-02904-hb              Doc 9         Filed 08/26/13 Entered 08/26/13 15:25:37                         Desc Main
                                            Document     Page 11001023~
                                                              10 of 235/26/2011 Bk: 10037                Pg: 00159


       this mortgage or other transfer of title to the mortgaged propert in extinguishment of the
       indebtedness secured hereby, all right, title and interest of the Mortgagor in and to any
       insurance policies then in force shall pass to the purchaser or grantee.


                4. That he wil keep all improvements now existing or hereafter erected upon the
       mortgaged property in good repair, and should he fail to do so, the Mortgagee may, at its
       option, enter upon said premises, make whatever repairs are necessary, and charge              the
       expenses for such repairs to the mortgage debt.


                5. That he wil pay all said taxes, insurance premiums and assessments annually
       before same become delinquent and exhibit paid receipts therefor to the Mortgagor, and,
       on the failure of the Mortgagor to pay all taxes, insurance premiums and public
       assessments, the Mortgagee may, at its option, pay said items and charge all therefor to
       the mortgage debt.


                6. That he hereby assigns all the rents, issues and profits of the mortgaged
       premises from and after any default hereunder, and should legal proceedings be instituted
       pursuant to this instrument, the Mortgagee shall have the right to have a receiver appointed
       of the rents, issues and profis, who shall have the right to take possession of said
       premises and who, after deducting all charges and expenses attending such proceedings
       and the execution of his trust as receiver, shall apply the residue of the rents, issues and
       profits toward the payment of the debt secured hereby.


                7. That, at the option of the Mortgagee, this mortgage shall become due and
       payable forthwith ¡fthe Mortgagor shall convey away said mortgaged premises, or ifthe title
       shall become vested in any other person in any manner whatsoever other than by death
       of the Mortgagor.


                8. It is agreed that the Mortgagor shall hold and enjoy the premises above conveyed
       until there is a default under this mortgage or in the note secured hereby. It is the true
       meaning of this instrument that if the Mortgagor shall fully perform all the terms, conditions,
       and covenants of this mortgage, and of the note secured hereby, that then this mortgage
       shall be utterly null and void; otherwise to remain in full force and virtue. If there is a default
       in any of the terms, conditions or covenants of this mortgage, or of the note secured
       hereby, then, at the option of the Mortgagee, all sums then owing by the Mortgagor to the
       Mortgagee shall become immediately due and payable and this mortgage may be
       foreclosed. Should any legal proceedings be instituted for the foreclosure of       this mortgage,
       or should the Mortgagee become a party to any suit involving this Mortgage or the title to
       the premises described herein, or should the debt secured hereby or any part thereof be
       placed in the hands of an attorney at law for collection by suit or otherwise, all costs and


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                                                                                                              ~~HaILGraham   00153
Case 13-02904-hb         Doc 9      Filed 08/26/13 Entered 08/26/13 15:25:37                           Desc Main
                                    Document     Page 11001023~
                                                      11 of 235/26/2011 Bk: 10037                  p,: 00160


       expenses incurred by the Mortgagee, and a reasonable attorney's fee, shall thereupon
       become due and payable immediately or on demand, at the option of the Mortgagee, as
       a part of the debt secured thereby, and may be recovered and collected hereunder.


              To have and to hold the above granted and described propert unto and to the use
       and benefi of Mortgagee, forever; with power of sale to secure payment to Mortgagee of
       Note and Agreement at the time and in the manner provided.


       9. The covenants herein contained shall bind, and the benefis and advantages shall
       inure to, the respective heirs, executors, administrators, successors, and assigns of the
       parties hereto. Whenever used, the singular number shall include the plural, the plural the
       singular, and the use of any gender shall be applicable to all genders.

       Witness Mortgagor's hand and seal this 26th day of May, in the year 2011.

       Signed, sealed and Delivered
       in the presence of:




      Cf(fWITNESS
            . fJ 'fui ()
                                                               ./g,C\
                                                          t1 Alicia
                                                              ..~   homas



        /l
       STATE OF SOUTH CAROLINA
       COUNTY OF ANDERSON                                ACKNOWLEDGMENT


               I, a Notary Public for the State of South Carolina, do hereby certify that the within
       Mortgagor(s) personally appeared before me this day and acknowledged the due execution
       of the foregoing instrument.

                                                                       11001023~ 5/26/2011 12 :22: 10 PM
                                                                       FILED. RECORDED, INDEXED
       Witness~y hand and offcial seal this                            Bk: 10037 p,: 00157 PQge5:00~
       the Æ-day of +,2011.                                            Ree Fee: 10.00 St Fee:
                                                                       Co Fee:
                                                                       REGISTER OF DEEDS. ANDERSON CO, SC
                                                                       Shirie~ McElhnnnon




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                                                                                                            HalL. raham 00154
                                                           Thomas
Case 13-02904-hb   Doc 9   Filed 08/26/13 Entered 08/26/13 15:25:37
                                                           File No. COOO 179Desc Main
                           Document     Page 12 of 23




                                   SUMMARY APPRAISAL REPORT OF

                                   THE PROPERTY LOCATED AT

                                   1515 N Fant St.

                                   Anderson, SC 29621-4707




                                   as of

                                   August 20,2013




                                   for
                                   Marshall Sherard




                                   by
                                  DURAM APPRAISAL SERVICES

                                   1008 N. Main Street
                                  Anderson, SC 29621




                                    ¡¡ EXHIBIT


                                   i C

                                                                               HaiL   Graham 00155
Case 13-02904-hb           Doc 9         Filed 08/26/13 Entered 08/26/13 15:25:37                                      Desc Main
                                         Document     Page 13 of 23
                                                  DUR APPRAISAL SERVICES
                                                          1008 N. Main Street
                                                          Anderson, SC 29621
                                                           864-225-3788




        August 20,2013



        Marshall Sherard




        Propert -                         1515 N Fant St.
                                          Anderson, SC 29621-4707
        Borrower -                        Marshall Sherard
        File No.-                         C0000179
        Case No.-                         Thomas



        Dear:
        In accordance with your request, I have prepared an appraisal of the real property located at i 5 i 5 N
        Fant St., Anderson, SC.


        The purpose of   the appraisal is to provide an opinion of   the market value of   the property described in
        the body of this report.

        Enclosed, please find the Summary Report which describes certain data gathered during our
        investigation of the property. The methods of approach and reasoning in the valuation of the various
        physical and economic factors of the subject property are contained in this report.



        An inspection of the property and a study of pertinent factors, including valuation trends and an
        analysis of neighborhood data, led the appraiser to the conclusion that the market value, as of August
        20,2013 is :


                                                             $223,000

        The opinion of   value expressed in this report is contingent upon the Limiting Conditions attached to
       this report.

        It has been a pleasure to assist you. If I may be of further service to you in the future, please let me
       know.

       Respectfully submitted,


       DURAM APPRAISAL SERVICES



       B~J¡h
       SC Certification #CG 1 054




                                                                                                                           HaiL   Graham 00156
                                                                                               Real Estate Report                                                             Thomas
Case 13-02904-hb                                  Doc 9                Filed 08/26/13 Entered 08/26/13 15:25:37         Desc Main
                                                                                                         File No. COOOO 179
                                                                       Document       Page  14 of 23
                                                                      SI IBJECT PROPERTY INFORMATION
   i ntended User       Marshall Sherard                                                                Census Tract              2                                                Type of Property
   Propert Address
   City Anderson
                          1515 N Fant St.
                                                             County     ANDERSON                        State SC Zip Code 29621-4707
                                                                                                                                                                 0     Residential
                                                                                                                                                                 o Small          Income
                                                                                                                                                                                            o Condo/PUD
                                                                                                                                                                                            o Income
   Legal Description   DdBk 10037 DdPo 153 (Tax man# 123-27-02-005)                   00 Commercial    o Industrial
   Preparer      Bovce G. Parks                 Company Name DURHAM APPRAISAL SERVIC ~ Special Purpose D Retail
   Address        1008 N. Main Street Anderson SC 29621                               o Other
   Telephone No. 864-225-3788                                                         SS#or 10#
   Client      Marshall Sherard                                             i ntended Use       Estimate market value
                                               AREA AND NEIGHBORHOOD DESCRIPTION AND ANALYSIS
   Area Description General commerical retail and service businesses residential
   Neighborhood Description Restaurants convenience stores retail businesses banks nrofessional offces
   Property Values  Stable                           Demand/Supply     Sunnlv exceeds demand
                                                                       Slow                                                                                                                           .
   Marketing Time   9 to 12 months                   Growth
   Neighborhood Land Uses   Subiect is close to shonnin!!. retail stores and service businesses
   Neighborhood Trend and Probable Changes                            No anticinated chanQces in the area are nroiected.
   Price Range for Similar Type Property (Per Unit or Per Sq. Ft.)                                  $50.00 to $90.00.00 ner sfl/ft.
   Comments on the signifcant factors in the area and neighborhood that affect the value and marketabilty of the subject property.
   (Note: Race or racial composition is not considered to be a signifcant evaluation factor.)                                             Sub' ect         is close to all sunnort and
                                                                                                                                                                                      .
   ervice tvne businesses.
                                                                        SITE DESCRIPTION AND ANALYSIS
   Site Dimensions and Area      .48 +-               See attached man
                                                        Ac
   Zoning Classifcation and Compliance              Mixed commerical
   Highest and Best Use               Present use I Sna
   Utilities     Water Electrictv Sewer
   Site Improvements and Characteristics                       Paved narkin!! lot
   Easements, Encroachments, Special Assessments                        None noted other than normal utilitv easements.
   FEMA Special Flood Hazard Area     r -IYes .X'No                      FEMA Flood Zone X        FEMAMap# 45007C0244E                                                               FEMA Map Date          09/29/2         11
   Known or apparent environmental hazads in area, neighborhood or on site                                           No annarent environmental hazards were noted durin!!
  .nsnection.
   Assessment 6%                                          Taxes $6743                                             Association Fees          None
   Comments N/A

                                                DESCRIPTON OF SUBJECT PROPERTY IMPROVEMENTS
   General Description and Use                 Offce
   Size and Shape      .48 +- Acres. I Irreoular
   Age and Condition      35+- (condition averaoe)
   Exterior Walls and Roof    Briek 1 Asnhalt
   Interior DescriptionAnorox. 3194 sn/ft of offce area heat & air. Assumed to have Carne! floor and nainted walls and
   tandard liohtino.
   Comments (favorable or unfavorable, including needed repairs, deferred maintenance, known or apparent environmental hazards) The
   ubiect annears to be in averaoe                                  condition from an exterior insnection.
                                                                                           VALUE ANALYSIS
   Histoiy (sales, listings, offers)              Subiect was nurchased for $275000 5/26/11 as shown in Deed Bk 10037 Pa"e 153
   Cost Approach Summaiy                           (see attached sheet if applicable)                            sN/A
   Income Approach Summaiy                         (see attached sheet if applicable)                            sN/A
                ITEM                             SUBJECT                          COMPARABLE NO. 1                            I         COMPARABLE         NO.2                     COMPARABLE            NO.3
                                        1515 N Fant St. 131 Buford Ave.                                                                                                       05 N.Fant St.
   Address                              Anderson SC 296 lIH4l00m                                                              1609 N. McDuffe
                                                                                                                              IAnderson                                      Anderson
   Proximity to Subject                 I                                1.1 miles E                                          0.69 miles S                                   0.63 miles S
   Sales Price                          'S                                                        Is           180000                                 Is      205000                            Is           231 047
   Price Per                            iS                                  S                75.00                                s           56.94                           s             82.05
   VALUE ADJUSTMENTS                         DESCRIPTION                        DESCRIPTION                 +(-) Adjustment           DESCRIPTION          +(-) Adjustment        DESCRIPTION             +(-) Adjustment
   Date of SalefTime                                                     3/18/11                                              6/14/12                                        2/9112
   Location                             IAveraoe                        1;"-veraQce                              +5000 IAvera!!e                              +10000 Averaoe
   Age                                  30 +-                           '20 +-                                                kis +-                                         30 +-
   Condition                            1Averaoe                        iAveraQce -                            +10000 IAvera!!e                                +5000 Averaoe +                               -15000
   Size (Improvements Section)          11194 sfl/ft                     2400 solft                            +23820 3600 sn/ft                              -12180 2816 sn/ft                              +11340
                                         .5S+-Ac                         .39+- Ac                               +5000 .30 +-Ac                                +10000 .39 Ac                           i
                                                                        ,

   Conditions of Sale                                                                                   I
   Special Financing
   Total Adjustments                                                            'Xì+ I I-           S            43.820               ixl+ r l-       s        12820 I l+ 00- S                               -3660
   Indicated Value of Subject                                            G24.3 I N24.3 s                       223820 018.1 I N6.3                    s       217820 01 1.41 N-1.6 s                         227387
   Sales Comparaison Indicated Value                $                           223000        Estimated Value S                                223 000 as of Auoiiot 20 2013
   Reconcilation and General Comments (attch addltonal sheets as needed)                                     The Sales Comnarison Analvsis is "iven the most weioht
  since it best reflects the actions of buvers and sellers in the market. The Cost Annroach and the Sales Analvsis were not
   onsidered annlicable.
   i certlf that, to the best of.my'.knowlectge and belief: The statements. of fact contafned in the evalualion are.tre and correct, the r~re0rted anairses, opinioris, ~nd c0r"clusions are tim¡te~ only b~/he
   reported assumptions and iimiiin~ conditions, and are my personal unbiased professional analysis and conclusions. I have no (or SpeCl ied) presen or prospective interest in the propert t~at is the su iect
   of this evaluation, and i have no or specified) personal interest with respect to the parties involved. My compensation is not conun~ent upon reporting of a ~redetermined value or direciion in value hat
                                                                                                                                                  I have (unless.ot erwse indic:ated) ira~e a personal inspection
   favors the cause of the client, the amount of the value estimate, the attainment of a StiRUiated result, or the occurrence of a subsequen even!.
   of the propert that is the subject of this evaluation. No one provided. signi icant professional assistance to the person signing this evaluation unless it is so indicated.
   Property Rights Appraised 00 Fee simpieiiDeD Leased Fee 0 LeasehDld
  xi ~y . anlysis, oPini4 and conclusions ¡¿r~ v ed, aø this evaluation has been prepared, in conformity with the Uniform SIa.ndards of Professional Appraisal Practice
   Signature                                      .¿. /I                                Signature
   Preparer Bovee G. P~ks                                    Property Inspection:       Supervisor                                         Property Inspection:
   Date Report Signed      Au"ust 20 2013                   i   i Interior LxJ Exterior Date Report Signed                                I    ¡ Interior I L Exterior


  AtachmentJ I PrODelt Sketch' X I Value Oer & AssumDI X L PhotDgraph~i Localion Mad X I Cosl Approachl 'income Approachl 1 Env. Addendum # of AUached Sheels
  RMPF Commercialllndusinal FW-69                                                                       Page 1 of 1

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Case 13-02904-hb                 Doc 9         Filed 08/26/13 Entered 08/26/13 15:25:37            FI   N 17 Desc Main
                                                                                                   Thomas

                                               Document          Page 15 of 23
                                                    ADDITIONAL COMMENTS

   Intended User Marshall Sherard
   Propert Address 1515 N Fant St
   Cily Anderson Counly ANDERSON                                    State SC                      Zip Code   29621-4707
   Client Marshall Sherard


       ANALYSIS OF VALUE
       The appraiser was not able to inspect the interior of the subject propert. The value stated in this report is based
       on an outside inspection. Information concerning the subject propert was obtained from county records and
       other sources. An interior inspection could result in different value stated in this repOlt.




                                                 DURHAM APPRAISAL SERVICES                                                   HaiL   Graham 00158
                                                                               Thomas
Case 13-02904-hb                 Doc 9        Filed 08/26/13 Entered 08/26/13 15:25:37         Desc Main
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                                              Document     Page 16 of 23
   This appraisal report is subject to the scope of work, intended use, intended user, definition of market value, statement of
   assumptions and limiting conditions, and certifications. The appraiser may expand the scope of work to include any additional
   research or analysis necessaiy based on the complexity of this appraisal assignment.


   SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
   reporting requirements of this appraisal report form, including the following definition of market value, statement of
   assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a visual
   inspection of the subject property, (2) inspect the neighborhood, (3) inspect each of the comparable sales from at least the street,
   (4) research, verity, and analyze data from reliabie public and/or private sources, and (5) report his or her analysis, opinions, and
   conclusions in this appraisal report.

   DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open
   market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming
   the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
   the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both
   parties are well informed or well advised. and each acting in what he or she considers his or her own best interest; (3) a
   reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms
   of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
   unaffected by special or creative financing or sales concessions' granted by anyone associated with the sale.

   'Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
   necessaiy for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
   readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
   adjustments can be made to the comparable property by comparisons to financing terms offered by a third part institutional
   lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
   dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
   reaction to the financing or concessions based on the appraiser's judgment.


   STATEMENT        OF ASSUMPTIONS AND LIMITING CONDITIONS:                           The   appraiser's   certification   in   this   report   is
   subject to the     following assumptions   and limiting conditions:

   1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
   to it, except for information that he or she became aware of during the research involved in performing this appraisaL. The
   appraiser assumes that the title is good and marketable and wil not render any opinions about the title.

   2. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency
   (or. other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
   identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or
   implied, regarding this determination.


   3. The appraiser wil not give testimony or appear in court because he or she made an appraisal of the propert in question.
   unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

   4. The appraiser has noted in this appraisal report any adverse conditions (such as the presence of hazardous wastes, toxic
   substances, etc.) observed during the inspection of the subject property or that he or she became aware of during the research
   involved in performing this appraisaL. Unless otherwise stated in this appraisal report, the appraiser has no knowledge of any hidden
   or unapparent deficiencies or adverse conditions of the property (such as, but not limited to, the presence of hazardous wastes,
   toxic substances, adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there
   are no such conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsible for any
   such conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
   Because the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
   an environmental assessment of the property.




                                                                 Page 1 of3
                                                 DURHAM APPRAISAL SERVICES
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Case 13-02904-hb                Doc 9         Filed 08/26/13 Entered 08/26/13 15:25:37
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                                              Document     Page 17 of 23
    APPRAISER'S CERTIFICATION: The Appraiser certifies and agrees that:

    1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
    this appraisal report.


    2. performed a visual inspection of the subject property.

    3. i performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
    Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
    place at the time this appraisai report was prepared.


    4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales
    comparison approach to value. i have adequate comparable market data to develop a reliable sales comparison approach
    for this appraisal assignment. i further certify that I considered the cost and income approaches to value but did not develop
    them, unless otherwise indicated in this report.

    5. i researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
    sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
    property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

    6. i researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
    to the date of sale of the comparable sale, unless otherwise indicated in this report.


    7. selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

    8. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
    property and the comparable sales.

    9. i verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
    the sale of the subject property.


    10. have knowledge and experience in appraising this type of property in this market area.

    11. i am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
    services, tax assessment records, public land records and other such data sources for the area in which the property is located.

    12. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
    reliable sources that i believe to be true and correct.

    13. i have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
    property, and the proximity of the subject propert to adverse influences in the development of my opinion of market value. i
    have noted in this appraisal report any adverse conditions (such as, the presence of hazardous wastes, toxic substances,
    adverse environmental conditions, etc.) observed during the inspection of the subject property or that i became aware of during
    the research involved in performing this appraisaL. i have considered these adverse conditions in my analysis of the property value,
    and have reported on the effect of the conditions on the value and marketability of the subject property.

    14. i have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
    statements and information in this appraisal report are true and correct.

    15. i stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which
    are subject only to the assumptions and limiting conditions in this appraisal report.

    16. I have no present or prospective interest in the property that is the subject of this report, and i have no present or
    prospective personal interest or bias with respect to the participants in the transaction. i did not base, either partially or
    completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
    status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the
    present owners or occupants of the properties in the vicinity of the subject propert or on any other basis prohibited by law.


    17. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not conditioned
    on any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a predetermined specific
    value, a predetermined minimum value, a range or direction in value, a value that favors the cause of any party, or the attainment of a
    specific result or occurrence of a specific subsequent event.


    18. i personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I relied on
    significant real propert appraisal assistance from any individual or individuals in the performance of this appraisal or the
    preparation of this appraisal report, I have named such individual(s) and disclosed the specific tasks performed In this appraisal report.
    i certify that any individual so named is qualified to perform the tasks. i have not aulhorized anyone to make a change to any item
    in this appraisal report; therefore, any change made to this appraisal is unauthorized and I will take no responsibilty for it.

    19. i identifed the client in this appraisal report who is the individual,           organization,   or agent for the organization that
    ordered   and will receive this appraisal report.


    20. I am aware that any disclosure or distribution of this appraisal report by me or the client may be subject to certain
    laws and regulations. Further, i am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
    that pertain to disclosure or distribution by me.


    21. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
    defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
    appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
    valid as if a paper version of this appraisal report were delivered containing my original hand written signature.


                                                                    Page 2 of 3

                                                    DURHM APPRAISAL SERVICES
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Case 13-02904-hb                   Doc 9          Filed 08/26/13 Entered 08/26/13 15:25:37         Desc Main
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                                                  Document     Page 18 of 23
   SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser certifies and agrees that:

   1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
   analysis, opinions, statements, conclusions, and the appraiser's certification.

   2. i accept full responsibility for the contents of this appraisal report including, but not limited to, the appraisets analysis, opinions,
   statements, conclusions, and the appraiser's certification.

   3. The appraiser identifed in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
   appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

   4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
   promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
   report was prepared.


   5. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
   defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
   appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
   valid as if a paper version of this appraisal report were delivered containing my original hand written signature.




   APPRAISER                                                               SUPERVISORY APPRAISER (ONLY IF REQUIRED)

   Signature ~ J iJ                                                        Signature
   Name Boyce O. P s                                                       Name
   Company Name DURHAM APPRAISAL SERVICES                                  Company Name
   Company Address 1008 N. Main Street                                     Company Address

   Anderson. SC 29621
   Telephone Number 864-225-3788                                           Telephone Number
   Email Address bparks1000~aoLcom                                         Email Address
   Date of Signature and Report August 20. 2013                            Date of Signature
   Effective Date of Appraisal August 20. 2013                             State Certifcation #
   State Certification # COL 054                                           or State License #
   or State License #                                                      State
   or   Other                                                              Expiration Date of Certification or License
   State SC
   Expiration Date of Certification or License 06/30/2014                  SUBJECT PROPERTY


                                                                           (X    Did not inspect subject property
   ADDRESS OF PROPERTY APPRAISED
   1515     NFant   St.                                                    o     Did inspect exterior of subject property from street
                                                                                 Date of Inspection
   Anderson. SC 29621-4707
   APPRAISED VALUE OF SUBJECT PROPERTY $
   CLIENT
                                                             223.000       o     Did inspect interior and exterior of subject property
                                                                                 Date of inspection
   Name
                                                                           COMPARABLE SALES
   Company Name Marshall Sherard
   Company Address                                                         o Did not inspect exterior of comparable sales from street
                                                                           o Did Inspect exterior of comparable sales from street
   Email Address                                                                 Date of Inspection


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                                                     DURAM APPRAISAL SERVICES
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Case 13-02904-hb                                                         Doc 9                           Filed 08/26/13 Entered 08/26/13 15:25:37
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                                                                                                                                         Location Map
     Intended User Marshall Sherard
     Propert Address i 5 i 5 N Fant St.
     Cily Anderson Counly ANDERSON                                                                                                                                      State SC                                                               Zip Code 2962 i -4707
     Client . Mar hall Sherard
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                                             Document     Page 20 of 23




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Case 13-02904-hb                Doc 9          Filed 08/26/13 Entered 08/26/13 15:25:37    Desc Main
                                                                                      1111 ·
                                               Document     Page 21 of 23
                                                           FLOOD MAP
    Intended User Marshall Sherard
    Propert Address 1515 N Fant St

         Anderson




   Flood Zones
   o Areas inundated by 500-year flooding
                                                                   _ Floodwayareas
                                                                   _ Floodway areas with velocity hazard
   o Areas outside of the 100- and 500-year flood plains
   _ Areas inundated by 10o-year flooding                          o Areas of undetermined but possible flood hazards
   _ Areas inundated by 100year flooding with velocity hazard      o Areas not mapped on any published FIRM

   Flood Zone Determinatjon
   latide: 34.510016                                            This Report is for the sole beneft of the Customer that ordered and paid for
   Longitde: .82.651099                                         the Report and is based on the propert information provided by that
                                                                Customer. That Customer's use of this Report is subject to the terms agreed
   Communit Name:
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   ANDERSON. CI    OF
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                                                                to use or rely    this Report for any purpose. NBTER FI AMERICAN
   Communit 450014                                              FLOOD DATA SERVICES NOR THE SELLER OF THIS REPORT MAKES ANY
   SFHA (Flood Zone): No                                        REPRESENTATIONS OR WARRANTIS TO ANY PARTY CONCERNING THE
   Within 250 ft of multiple flood zones: No                    CONTENT, ACCURACY OR COMPLETENESS OF THIS REPORT, INCLUDING
   Zone: X Map If 45007C0244E                                   ANY WARNTY OF MERCHANTABIl OR FINESS FOR A PARTICULAR
                                                                PURPOSE. Neither FARES nor the seller of this Report shall have any liabilty
   Panel: 0244E Panel Date: 09/29/2011
                                                                to any third part for any use or misuse of this Report
   FI Code: 45007 Census Tract 2
                                                DURHAM APPRAISAL SERVICES                                                                      HaiL   Graham 00164
                                                                                Thomas
Case 13-02904-hb                       Doc 9   Filed 08/26/13 Entered 08/26/13 15:25:37
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                                               Document     Page 22
                                               PHOTOGRAPH ADDENDUM
                                                                    of 23
  Intended User Marshall Sherard
  Propert Address i 5 i 5 N Pant S1.
  City Anderson County ANDERSON                               Stale SC         Zip Code 2962 i -4707
  Client Marshall Sherard




                                                                          FRONT VIEW OF
                                                                          SUBJECT PROPERTY




                                                                           REAR VIEW OF
                                                                           SUBJECT PROPERTY




                                                                           STREET SCENE OF
                                                                           SUBJECT PROPERTY




                                               DURAM APPRAISAL SERVICES                                    HaiL   Graham 00165
Case 13-02904-hb                       Doc 9   Filed 08/26/13 Entered 08/26/13Thomas
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                                               Document     Page 23 of 23
                                                PHOTOGRAPH ADDENDUM
  Intended User Marshall Sherard
  Propert Address 1 5 1 5 N Fant St.
  Cily Anderson CO"oly ANDERSON                               Slale SC         Zip Code 29621 -4707
  Clienl Marshall Sherard




                                                                                COMPARABLE #1

                                                                            13 1 Buford Ave.
                                                                            Anderson

                                                                            Price                $180,000
                                                                            Price/SF                75.00
                                                                            Date                   3/18/11
                                                                            Age                       20 +-


                                                                            Living Area          2400 sq/ft

                                                                            Value Indication      223,820




                                                                                COMPARABLE #2

                                                                            609 N. McDuffe
                                                                            Anderson

                                                                            Price                 $205,000
                                                                            Price/SF                  56.94
                                                                            Date                    6/14/12
                                                                            Age                       45 +-

                                                                            Living    Area       3600 sq/ft

                                                                            Value Indication       217,820




                                                                                 COMPARABLE #3

                                                                             705 N.Fant St.
                                                                             Anderson

                                                                             Price                $231,047
                                                                             Price/SF                82.05
                                                                             Date                     2/9/1
                                                                             Age                       30+-

                                                                             Living    Area       2816 sq/ft

                                                                             Value Indication       227,387




                                                DURHAM APPRAISAL SERVICES                                      HaiL   Graham 00166
